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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

    TIMOTHY M. LEWIS,                                   Civil Action No. 17-12797-BRM-LHG

                 Plaintiff,
                                                                      OPINION
          v.

    JOHN JOHNSON, et al.,

                 Defendants.


MARTINOTTI, DISTRICT JUDGE

         Before this Court is the Complaint of Plaintiff Timothy M. Lewis (“Plaintiff”) raising civil

rights claims against his criminal defense attorney and two public defenders. (ECF No. 1.) Also

before the Court is Plaintiff’s application for leave to proceed in forma pauperis. (ECF No. 1-1.)

Having reviewed Plaintiff’s application to proceed in forma pauperis, the accompanying affidavit,

and the certified account statement setting forth Plaintiff’s financial status, the Court finds that

leave to proceed in forma pauperis is warranted in this matter. Accordingly, Plaintiff’s application

to proceed in forma pauperis (ECF No. 1-1) is GRANTED.

         Because Plaintiff is proceeding in forma pauperis, the Court is required to screen the

Complaint under 28 U.S.C. § 1915(e)(2)(B). Pursuant to the statute, this Court must dismiss

Plaintiff’s claims if they are frivolous, malicious, fail to state a claim for relief, or seek damages

from a defendant who is immune. For the reasons set forth below, Plaintiff’s Complaint (ECF No.

1) is DISMISSED in its entirety.

    I.   BACKGROUND 1



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  The following factual allegations are taken from Plaintiff’s Complaint (ECF No. 1), and are
assumed to be true for the purposes of this Opinion.

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       In his complaint, Plaintiff asserts his assigned criminal defense attorney, Michael G. Weiss,

refused to help him prepare his criminal case, refused to file Plaintiff’s pro se supplemental

motions, and subjected Plaintiff to verbal abuse and insults. (ECF No. 1 at 4-6.) Plaintiff also

asserts Weiss failed to meet with him to discuss his criminal case. (Id. at 6.) Because his attorney

refuses to assist him, Plaintiff reached out to the office of Defendant Krakora, the Public Defender

of the State of New Jersey. (Id. at 3-6.) Specifically, Plaintiff spoke with Defendant John Johnson,

one of Krakora’s deputy public defenders, who stated he would investigate the matter and “get

back” to Plaintiff. (Id. at 4.) Johnson thereafter failed to contact Plaintiff regarding his case and

his complaint about his assigned attorney.

 II.   LEGAL STANDARD

       Pursuant to the Prison Litigation Reform Act, Pub. L. No. 104-134, §§ 801-810, 110 Stat.

1321-66 to 1321-77 (April 26, 1996) (the “PLRA”), district courts must review the complaints in

all civil actions in which a prisoner is proceeding in forma pauperis, see 28 U.S.C. § 1915(e)(2)(B),

or seeks damages from a state employee. See 28 U.S.C. § 1915A. The PLRA directs district courts

to sua sponte dismiss any claim that is frivolous, malicious, fails to state a claim upon which relief

may be granted, or seeks monetary relief from a defendant who is immune from such relief. 28

U.S.C. § 1915(e)(2)(B); 28 U.S.C. § 1915A. This action is subject to sua sponte screening for

dismissal pursuant to 28 U.S.C. § 1915(e)(2)(B) because Plaintiff has been granted in forma

pauperis status.

       “The legal standard for dismissing a complaint for failure to state a claim pursuant to 28

U.S.C. § 1915(e)(2)(B)(ii) is the same as that for dismissing a complaint pursuant to Federal Rule

of Civil Procedure 12(b)(6).” Schreane v. Seana, 506 F. App’x 120, 122 (3d Cir. 2012) (citing

Allah v. Seiverling, 229 F.3d 220, 223 (3d Cir. 2000)); Mitchell v. Beard, 492 F. App’x 230, 232



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(3d Cir. 2012) (discussing 28 U.S.C. § 1997e(c)(1)); Courteau v. United States, 287 F. App’x 159,

162 (3d Cir. 2008) (discussing 28 U.S.C. § 1915A(b)).

       In deciding a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), a

district court is “required to accept as true all factual allegations in the complaint and draw all

inferences in the facts alleged in the light most favorable to the [Plaintiff].” Phillips v. Cnty. of

Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). “[A] complaint attacked by a . . . motion to dismiss

does not need detailed factual allegations.” Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007).

However, the Plaintiff’s “obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires

more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

will not do.” Id. (citing Papasan v. Allain, 478 U.S. 265, 286 (1986)). A court is “not bound to

accept as true a legal conclusion couched as a factual allegation.” Papasan, 478 U.S. at 286.

Instead, assuming the factual allegations in the complaint are true, those “[f]actual allegations must

be enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555.

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 570). “A claim has facial plausibility when the

pleaded factual content allows the court to draw the reasonable inference that the defendant is

liable for misconduct alleged.” Id. “Determining whether the allegations in a complaint are

plausible is a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id. at 679. “[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—‘that the pleader is entitled to relief.’” Id. (citing Fed. R. Civ. P. 8(a)(2)). Moreover,

while pro se pleadings are liberally construed, “pro se litigants still must allege sufficient facts in



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their complaints to support a claim.” Mala v. Crown Bay Marina, Inc., 704 F.3d 239, 245 (3d Cir.

2013) (citation omitted) (emphasis added).

III.   DECISION

       Plaintiff seeks to bring claims against his defense attorney and two public defenders arising

out of his attorney’s apparent deficient performance, which he asserts violates his constitutional

right to counsel. “To establish a claim under 42 U.S.C. § 1983, a plaintiff must demonstrate a

violation of a right protected by the Constitution or laws of the United States that was committed

by a person acting under the color of state law.” Nicini v. Morra, 212 F.3d 798, 806 (3d Cir. 2000);

see also Woodyard v. Cnty. of Essex, 514 F. App’x 177, 180 (3d Cir. 2013) (noting that § 1983

provides “private citizens with a means to redress violations of federal law committed by state

[actors]”). “The first step in evaluating a section 1983 claim is to ‘identify the exact contours of

the underlying right said to have been violated’ and to determine ‘whether the plaintiff has alleged

a deprivation of a constitutional right at all.’” Nicini, 212 F.3d at 806 (quoting County of

Sacramento v. Lewis, 523 U.S. 833, 841 n.5 (1998)).

       In this matter, Plaintiff appears to be raising claims against his assigned attorney and the

public defenders based on ineffective assistance of counsel. Defense counsel, including “public

defenders and court-appointed counsel acting within the scope of their professional duties are

absolutely immune from civil liability under § 1983.” Walker v. Pennsylvania, 580 F. App’x 75,

78 (3d Cir. 2014) (quoting Black v. Bayer, 672 F.2d 309, 320 (3d Cir. 1982), abrogated on other

grounds by D.R. v. Middle Bucks Area Voc. Tech. Sch., 972 F.2d 1364, 1368 n.7 (3d Cir. 1992)).

In other words, defense attorneys who are employed by the government as public defenders enjoy

this immunity because defense counsel “does not act under color of state law when performing a

lawyer’s traditional functions.” Polk Cnty. v. Dodson, 454 U.S. 312, 318 (1981). All of Petitioner’s



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constitutional claims arise out of his allegation that he is receiving constitutionally defective

assistance from his criminal attorney and concern the performance of his criminal attorney.

Because Plaintiff’s claims arise out of the conduct of his assigned attorney, and because his

assigned attorney and the public defenders are immune for actions within the scope of their

professional duties, all the named Defendants are immune. Therefore, Petitioner’s federal claims

fail to state a claim for which relief can be granted and are DISMISSED WITH PREJUDICE.

         It is not clear from the complaint whether Plaintiff also intends to raise state law claims,

such as legal malpractice claims, against any of the named Defendants. Even if Plaintiff did wish

to do so, however, the Court declines to extend supplemental jurisdiction over any nascent state

law claim, having dismissed all claims over which the Court has original jurisdiction. See 28

U.S.C. § 1367(c)(3). Accordingly, Plaintiff’s complaint is DISMISSED in its entirety.

IV.      CONCLUSION

         For the reasons stated above, Plaintiff’s application for leave to proceed in forma pauperis

(ECF No. 1-1) is GRANTED, and Plaintiff’s Complaint (ECF No. 1) is DISMISSED in its

entirety. An appropriate order will follow.




Dated:      June 18, 2018
                                                       /s/ Brian R. Martinotti__________
                                                       HON. BRIAN R. MARTINOTTI
                                                       UNITED STATES DISTRICT JUDGE




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